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IN THE UNITED STATES DIS'I`RIC'I` COURT
FOR 'I`HE MIDDLE DISTRIC'I` OF FLORIDA
ORLANDO DIVISION

KATHY D. ROHALEY, Case No.: ,_
é_‘/b/..c,`/» /00‘{¢ OQL' 5/ AHB
Plaintiff, '
v.
HAROLD RAY CRAIG, and U.S. XPRESS

LEASI`NG OF TENNESSEE, INC., and 'I`OTAL
'I`RANSPOR'I`A'l`ION OF MISSISSIPPI LLC,

Del`endants.
/

 

NOTICE OF REMOVAL

PLEASE TAKE NOTICE that Defendant, TOTAL TRANSPORTATION OF
MlSSISSIPPI, LLC., by and through its undersigned counscl, and pursuant to 28 U.S.C. §§1332,
1441 and 1446, with full reservation of defenses, hereby gives Notice of Removal of this action
from the Circuit Court of the Ninth Judicial Circuit in and for Orange County, Florida to the
United States District Court for the Middle District of Florida, Orlando Division, based upon the
existence ot`diversityjurisdiction. In support hereof`, Det`endants state as follows:

PROCEDURAL HJS'I`ORY

l. This is a personal injury action arising out ol` an incident that occurred on or about
Decembcr 27, 2010. (Complaint ll 4) (A copy of the Complaint is attached hereto as Exhibit
“A”).

2. Plaintiff, KATHY D. ROHALEY, (“Rohaley”), alleges that she was injured
during a motor vehicle incident involving the Defendants (Complaint TH] lO; 12; 15).

3. As a result of the accident and alleged injuries, on December 22, 2014, Rohaley

brought a civil suit in the Circuit Court of the Ninth Judicial Circuit, in and for Orange County,

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Florida, styled Kathy D. Rohaley v. Harold Ray Craig, and U.S. Xpress Leasing of Tennessee,
Inc. and Total Transporta!ion of Mississippi, LLC, Case No.: 2014-CA-l3l ll-0. (See Exhibit
itA_,.)

4. On May 19, 2015, Rohaley served her Complaint upon the Defen°dant, Total
Transportation of Mississippi, LLC.

COMMTEMRSITY EXISTS

5. Plaintiff’s cause of action is one over which this Court has original jurisdiction
under 28 U.S.C. §1332 which states that “[t]he district courts shall have original jurisdiction of`
all civil actions where the matter in controversy exceeds the sum or value of $75,000, exclusive
of interest and costs, and is between: (l) citizens of different States; (2) citizens of a State and
citizens or subjects ot` a foreign state; (3) citizens of different States and in which citizens or
subjects of a foreign state are additional parties.”

6. Upon infomiation and beliet`, Plaintii"f was and is a citizen and resident of the
Commonwealth of Virginia.

7. At all times material to this cause Defendant, Harold Ray Craig, was and is a
resident of the State of 'I`ennessee. Comp[aint, 11 8. Upon information and belief, as oi` the filing
of this Notice, Mr. Craig had not been served with summons for this lawsuit.

8. At all times material to this cause Defendant, 'l`otal Transportation of Mississippi,
LLC, was and is a limited liability company with its principal place of business and nerve center
in Mississippi. (See Affidavit ofJohn Stomps attached hereto as Exhibit “B.”)

9. At all time material to this cause Defendant, U.S. Xpress, was and is a Nevada
corporation with its principal place of business in Chattanooga, Tennessee. Upon information

and beliet`, as of the filing of` this Notice, U.S. Xpress had not been served with summons for this

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lawsuit.

10. For diversity jurisdiction purposes, a corporation is a citizen of (l) its state of
incorporation; and (2) the state where it has its principal place of business. 28 U.S.C.
§1332(0)(1). The Supreme Court has recently determined that “principal place of business” for a
corporation is its nerve center: “the place where a corporation’s officers direct, control,’ and
coordinate the corporation’s activities.” Her!z Corp. v. Friena', 130 S. Ct. ll81, 1192-93 (2010).

l l. "l`herefore, the state of citizenship of the Defendants is different from the state of
citizenship of the Plaintiff.

JURISDICTIONAL AMOUNT lN CON'I`ROVERSY

 

12. ln determining the amount in controversy, the Court looks first to the complaint.
Akhdary v. Blackbr'rd Technologies, Inc., WL 1064213 (M.D.Fla. 2007) (citation omitted). Hcre,
'l` he Plaintift’ s Complaint alleges unspecified damages in excess of $15,000. (Complaintl] 1).
“[W]here a plaintiff has made an unspecified demand for damages in state court, a removing
defendant must prove by a preponderance of the evidence that the amount in controversy more
likely than not exceeds the $[75,000] jurisdictional requirement.” Tapscon v. MS Dealer Serv.
Corp., 77 F.3d 1353, 1357 (llth Cir.l996), overruled on other grounds by Cohen v. Oji'ice
Depot, 204 I~`.3d 1069 (l lth Cir.2000). See also Leonard v. Emerprise Rem A Car, 279 F. 3d
967, 972 (l lth Cir. 2002).

13. A defendant may use a variety of documents as “other paper” in determining the
amount in controversy requirement. See Martin v. Memor Corp., 142 F. Supp. 2d l346 (M.D.
Fla. 2001); Saberton v. Sears Roebuck and Co., 392 F. Supp. 2d 1358 (M.D. Fla. 2005).

l4. Prior to the filing of this action, Plaintiff made a demand on Defendants of for an

amount in excess of $75,000.

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15.

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'I`herefore, the amount in controversy in this case exceeds this Court’s $75,000

minimal jurisdictional limit pursuant to 28 U.S.C. § 1332(b).

16.

According to the allegations of Plaintiff`s Complaint, the Plaintil`i’s cause of

action arose in Orange County, Florida. 'Iherefore, venue is proper in the U.S. District Court for

the Middle

17.

District of Florida, Orlando Division.
REMOVAL IS TIMELY

On or about December 22, 2014, Plaintiff filed her Complaint in the Ninth

Judicial Circuit in and for Orange County, Florida, and service of process upon the Defendants

was perfec

18.

ted on May 19, 2015.

Therefore, removal of this case is timely as it is within the 30-day time limit for

removal pursuant to 28 U.S.C. § l446(b).

19.

QQBQ_IELU

Accordingly, the above-described action is one over which this Court has

jurisdiction pursuant to 28 U.S.C. §1332, and is one which may be removed to this Court by

Defendant

A.

20.

'I`otal Transportation of Mississippi, pursuant to 28 U.S.C. §§1441 and 1446, in that:

lt is an action between a citizen of this State and a citizen or subject of a foreign
state;

lt is a civil action in which the amount in controversy exceeds the sum of
Seventy-Five Thousand Dollars ($75,000), exclusive of interest and costs;

'l'he action was removed within 30 days of the service and notification to
Defendant of the complaint.

Pursuant to 28 U.S.C. §l446(d), Defendants have provided written notice to all

adverse parties and has filed a copy of this Notice of Removal with the Clerk of the Court of the

Ninth .ludicial Circuit in and for Orange County, Florida, and has filed herein copies of all

pleadings

`rom the state court aetion. (A copy of Defendants’ Notice of Removal to Opposing

 

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Counsel is
Removal is attached hereto as Exhibit “D.”)
WHE REFORE, Defendant, TOTAL
respectful
Circuit in

DAT ED this Z §§ day of June, 20l5.

 

attached hereto as Exhibit “C,” and a copy of Defendants’ Certiflcation of Notice of

TRANSPORTATION OF MISSISSIPPI, LLC,

y request that the above action now pending in the Circuit Court of the Ninth Judicial

and for Orange County, Florida be removed therefrom to this Honorable Court.

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_ClRTIFIQAT§ OF SERVICE
l certify that a copy hereof has been furnished to:

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Attorneys For: Plaintiff

Via E-Servii;e on June )` ll , 2015. /`)

f‘r/\_./`\

DAVID A. MERCER, ESQ.

 

 

